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                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF DELAWARE

Regeneron Pharmaceuticals, Inc.,

              Plaintiff,                            C. A. No.: 1:22-cv-00697-JLH
v.
                                                    JURY TRIAL DEMANDED
Amgen Inc.,                                 REDACTED PUBLIC VERSION
                                            FILED: July 30, 2024
              Defendant.


       REGENERON PHARMACEUTICALS, INC.’S MEMORANDUM OF LAW
     IN OPPOSITION TO AMGEN INC.’S MOTION FOR SUMMARY JUDGMENT


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Dated: June 21, 2024




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                                       INTRODUCTION

         This is the rare case where the plaintiff caught the defendant red handed. In June 2020,

Regeneron’s CEO, Dr. Leonard Schleifer, spoke with Express Scripts (“ESI”), the second largest

pharmacy benefit manager (“PBM”) in the country,




                                         Ex. 1 at 223:18-20. 1 That comment sent “

                        Id. at 223:21-22. Although ESI’s



                                                        . Id. at 223:22-224:13.

         This was an especially coercive and rare

         —blockbuster anti-inflammatory medications having nothing to do with the treatment of

cardiovascular disease—                                                                    Ex. 2 at

395:18-396:8; see also Ex. 3.                           Amgen when it got word that “

                                                           . 4 at -8866, Ex. 5 at -8868.




                                                                  . Ex. 6. But that only led Amgen

to move its unlawful conduct underground and implement its scheme through oral arrangements

and unwritten mutual understandings with PBMs. Amgen’s anticompetitive cross-therapeutic

bundles harmed Regeneron, distorted competition in the U.S. PCSK9i market, and, most



1
    Emphasis added throughout unless otherwise noted.
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concerning, harmed patients and prescribers who have lost access to a life-saving drug.

        Amgen first tested the waters at ESI Part D. Amgen believed

                                                but, after ESI Part D

Amgen suggested a                                           Ex. 7 at -4550-51. By the time Amgen

began negotiating with ESI Commercial, Amgen had become emboldened: Amgen knew

                            . After Amgen                      , which ESI Commercial

                                                     that were so

                                      , Ex. 3 at -5853; Ex. 8 at -8571, that

                              Ex. 2 at 396:24-397:6. ESI was right.




        At yet another PBM, Humana Part D, Amgen

                                                                        Ex. 9.

                                                Amgen told Humana Part D that it would

                                          Ex. 10 at -2822. The following year, another PBM,

                                                                                       ,” Ex. 11, and

Amgen made clear that

                                                         , Ex. 12. Displaying a clear consciousness

of guilt,

                             Ex. 13 at -8981.

        All the while, Amgen repeatedly                                        , where Praluent® had

succeeded before                  . Amgen           CVS Commercial

                         with rebates estimated at                        Ex. 14 at -2175; Ex. 15.




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Regeneron plainly

                                                 .” Ex. 2 at 226:20-22. And CVS Part D also found

itself on the receiving end of Amgen’s                                      . Ex. 16.

       There is no question that Amgen’s intended goal was to                       Ex. 17 at -0000.

Amgen’s own employees discussed how Amgen’s scheme would

                                                          . Ex. 18 at -9061. Amgen was clear about

its intent to entrench its monopoly status so that it could raise prices in a sworn filing it made in

connection with its earlier patent case: Amgen sought a permanent injunction to prevent the sale

of Praluent® in the United States in 2014, and, by 2019, Amgen claimed that competition from

Praluent® was “eroding both Amgen’s market share, which should be 100%, and Repatha’s net

price.” Ex. 19 at 9. After realizing it would lose its patent case, Amgen began its bundling and

predatory pricing scheme to achieve the same ends by different means.

       Ultimately, Amgen’s anticompetitive strategy succeeded. Amgen has transformed the two-

player PCSK9i market and entrenched its monopoly—growing Repatha®’s share while preserving

its margins to the detriment of consumers and competition. Today,        of the market is foreclosed

to Regeneron. Prices exceed competitive levels, innovation has slowed,



       Despite this mountain of evidence, Amgen advances a series of arguments in support of its

motion for summary judgment that involve highly disputed factual issues—each of which strongly

favors Regeneron, or is, at most, disputed. Indeed, Amgen does not contest Repatha®’s monopoly

in the U.S. PCSK9i market, and Amgen now admits that it



                              . Because Amgen cannot dispute that it did exactly what Regeneron




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lose each and every fight it picks. Moreover, none of the issues Amgen raises is dispositive under

the holistic rule of reason inquiry antitrust law demands. In short, there is more than enough

evidence to comfortably sustain a jury verdict that Amgen “willfully maintained monopoly power

by predatory or exclusionary conduct, rather than by supplying better products or services, or by

exercising superior business judgment, or just by chance.” LePage’s, Inc. v. 3M, 324 F.3d 141,

167 (3d Cir. 2003) (en banc). Nothing more is required to deny Amgen’s motion.

       As for the effects of Amgen’s anticompetitive scheme, Amgen merely identifies classic

battles of the experts for the jury to weigh at trial. Regeneron’s economic expert, Dr. Fiona Scott

Morton, formerly the DOJ Antitrust Division’s Chief Economist, opines at length that the evidence

shows that Amgen’s conduct harmed competition and consumers. (Amgen did not move to exclude

this particular opinion in its kitchen-sink Daubert motion. D.I. 316.) Tellingly, Amgen has offered

no procompetitive justification for its first-ever use of cross-therapeutic bundled rebates to hobble

its sole competitor in the PCSK9i market and cement its monopoly.

       The evidence also shows that Amgen used anticompetitive below-cost pricing to erode

Regeneron’s ability to compete.

                          Amgen largely ignores Regeneron’s below-cost pricing claims, and what

it does say (in under three pages) does not come close to justifying summary judgment. Amgen

contends that its                                                          and that it cannot recoup

its losses. The evidence shows otherwise. And, regardless, substantial foreclosure and recoupment

are not necessary elements of Regeneron’s below-cost pricing claims. Amgen’s arguments on

Regeneron’s standalone below-cost pricing claims should be rejected.

       As a final matter, Amgen does not meaningfully challenge Regeneron’s five state-law

claims, which reach different conduct from Regeneron’s federal claims. So there is no question




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that summary judgment is not appropriate for those claims, which must proceed to trial, where

Regeneron should prevail on all of its claims. Of course, Amgen can try to convince the jury of its

sanitized (and fictitious) narrative, but Amgen certainly has no entitlement to summary judgment.

                                   STATEMENT OF FACTS

A.       Amgen’s strategy is to dominate the PCSK9i market.

         Regeneron is a leading innovator in the pharmaceutical industry. Led by co-founders and

renowned scientists Dr. Leonard Schleifer and Dr. George Yancopoulos, Regeneron has a portfolio

of twelve FDA-approved or authorized medicines. 2 Amgen is a pharmaceutical company that has

amassed (often through acquisitions) a portfolio almost three times larger, with thirty-four FDA-

approved or authorized medicines. 3 Amgen’s CEO is former banker Robert Bradway.

         This case concerns Regeneron’s path-breaking specialized cholesterol medication

Praluent®, and Amgen’s unlawful efforts to bully Praluent® out of the market. In July 2015,

Praluent® became the first FDA-approved fully human monoclonal antibody, and the first drug

approved to lower cholesterol by targeting a protein called PCSK9. See Amgen Inc. v. Sanofi, 872

F.3d 1367, 1372 (Fed. Cir. 2017). By “inhibiting” PCSK9 (hence the label “PCSK9i”), Praluent®

boosts the body’s natural ability to extract LDL-C (“bad cholesterol”) from the bloodstream. See

id.; Ex. 20 ¶¶ 53-54. PCSK9i’s serve a unique patient population, including those who cannot

tolerate statins or for whom statins fail to reduce cholesterol to acceptable levels. Id. ¶¶ 19-20.

After the FDA approved Praluent®, it approved Amgen’s Repatha®, another monoclonal antibody

PCSK9i. See Amgen, 872 F.3d at 1371. Praluent® and Repatha® remain the only FDA-approved

patient-administered PCSK9i’s, and Amgen does not dispute in its summary judgment motion that

these two products alone comprise the relevant market. Ex. 20 ¶ 20; Br. 17 n.7.


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    See About, Regeneron, https://www.regeneron.com/about.
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    See Our Products, Amgen, https://www.amgen.com/products.



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       Repatha® is

            Ex. 21 ¶ 17. Amgen, however, recognized early on that competition from Praluent®

meant less revenue for Amgen. “But for Praluent,” Amgen stated in 2019, “Repatha would be the

only PCSK9 antibody sold in the U.S.” Ex. 19 at 9. Instead, Praluent® was “eroding both Amgen’s

market share, which should be 100%, and Repatha’s net price.” Id. Amgen expected that

competing with Praluent® would                                                       Ex. 22 slide 3;

Ex. 23 slide 30; Ex. 24 ¶ 55 fig. 2. If Amgen could sideline Praluent®, then it



                  Ex. 25 slide 1, 6; Ex. 22 slide 3, 7. Mr. Bradway put it bluntly in June of 2019:

                                                                  Ex. 26 at -1248. And Repatha®’s

importance to Amgen has                            With other products in its portfolio facing patent

cliffs, Amgen believes, according to statements by Mr. Bradway in 2022 and 2023, that “

                                                                            Ex. 27 at -0693; accord

Ex. 28 at -9445, and will                                                                Ex. 29 at -

2443. To achieve those             goals,                                   Ex. 30 at -1667.

       But Repatha® faced some hurdles. Unlike Praluent®, Repatha®’s clinical trials did not show

any reductions in patient deaths, certain kinds of heart attacks, or unstable angina (reduced blood

flow to the heart) requiring hospitalization. Ex. 20 ¶¶ 8, 12, 26. Additionally Repatha®, unlike

Praluent®, does not offer a low-dose option, which physicians (including Amgen’s medical expert

in this case) prefer for some patients. Id. ¶¶ 10, 63-79; Ex. 31 at 81:12-17.

B.     Amgen’s effort to secure 100% market share first plays out (unsuccessfully) in court.

       Unwilling to compete on the merits, Amgen determined to force Praluent® from the market

by other means. In 2014, before Repatha® was even approved, Amgen sued Regeneron and Sanofi

(with whom Regeneron had co-developed Praluent®), seeking to bar Praluent® from the market—



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and thus deny patients access to it. Amgen argued that Praluent® infringed an overbroad patent

that, as the Supreme Court would later explain, invalidly sought “to monopolize … an entire

universe of antibodies.” Amgen Inc. v. Sanofi, 598 U.S. 594, 613 (2023). To cement its advantage,

Amgen even took the aggressive step of seeking a permanent injunction against Praluent®. Amgen

Inc. v. Sanofi, 2017 WL 61725 (D. Del. Jan. 5, 2017), vacated 872 F.3d 1367 (Fed. Cir. 2017).

       Amgen’s strategy started to stall in mid-2019, when Judge Andrews declared Amgen’s

patents invalid, presaging Amgen’s later unanimous losses before the Federal Circuit and the

Supreme Court. Amgen Inc. v. Sanofi, 2019 WL 4058927 (D. Del. Aug. 28, 2019), aff’d, 987 F.3d

1080 (Fed. Cir. 2021), aff’d, 598 U.S. 594 (2023). This loss led to       at Amgen, as Amgen was




                                . Ex. 22 slide 7, 9; Ex. 23 slide 30; see also Ex. 32 at -9699, -9709

                                                                                          .

       Then,

                                                        and quickly secured exclusive coverage for

Praluent® on CVS formularies, effective July 2020. That deal alone cut away at 15% of Repatha®’s

business. Ex. 33. Mr. Bradway, upon learning the news, responded that Amgen was

                                                 Id.

                                                                      Ex. 34 slide 9-13. Amgen was

          . See Ex. 35. Amgen saw Praluent®                                                   not just

Repatha®’s, and acted unlawfully to fight it.

C.     Amgen pivots to anticompetitive bundling and below-cost pricing to secure and
       maintain a monopoly.

       Unwilling to compete on the merits, and unsuccessful in court, Amgen turned to flouting




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antitrust law. By early 2020, Amgen already had a          share of the two-player PCSK9i market

and wanted to                                    . See Ex. 24 ¶ 210 fig. 24 (citing Amgen data); Ex.

36 at -5372; Ex. 37 at 217:6-7. Due to its larger portfolio of drugs, Amgen had a further advantage

over Regeneron: Amgen had two blockbuster drugs in unrelated markets that it could leverage to

drive Praluent® out of the much smaller PCSK9i market. One drug is Otezla®, the only oral product

approved to treat moderate-to-severe psoriasis when Amgen acquired it in 2019 for $13.4 billion

in an FTC-ordered divestiture. Ex. 38 slide 9. 4 The other is Enbrel®, which has been “one of the

world’s most profitable drugs” 5 since Amgen acquired it in 2002 as part of a $10 billion acquisition

of Immunex. Ex. 24 ¶ 41. So Amgen set out to

                                                                             Ex. 18 at -9061. 6 With

Praluent®’s net sales reaching just       of Otezla® and Enbrel®’s, Ex. 24 ¶ 68 fig. 5(b), it would

be easy for Amgen to leverage these megaproducts to strangle Praluent®.

       Amgen operationalized this scheme by offering cross-therapeutic bundled rebates on

Otezla®, Enbrel®, and Repatha® to “Payors.” Payors are companies (including “PBMs,” Pharmacy

Benefit Managers, and “GPOs,” Group Purchasing Organizations) that manage the medication-

related benefits insurance companies provide to patients. One way they do so is to maintain lists,

or “formularies,” of covered medications. Patients are generally required to pay out-of-pocket for

medications not listed, with some exceptions. The Payor market is highly concentrated with three

companies—ESI, OptumRx/UHC, and CVS/Zinc (the “Big 3”)—covering the vast majority of


4
  See Press Release, FTC Approves Final Order Requiring Bristol Myers Squibb Company Celgene
Corporation Divest Psoriasis Drug Otezla as a Condition of Acquisition, FTC (Jan. 13, 2020)
https://www.ftc.gov/news-events/news/pressreleases/2020/01/ftc-approves-final-order-requiring-
bristol-myers-squibb-company-celgene-corporation-divestpsoriasis.
5
   Drug Pricing Investigation: Amgen—Enbrel® and Sensipar, Staff Report, Committee on
Oversight and Reform, U.S. House of Representatives, at 5 (Oct. 2020).
6
  Amgen’s references to        and            appear to be Amgen’s misogynistic and pejorative
                                             ®
way to refer to Regeneron’s CEO and Praluent . E.g., Ex. 39 at -8810                        ).



                                                 9
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397:4. In fact, Regeneron

                  Ex. 24 ¶¶ 197-98. So, although

                    began to cover Repatha® exclusively. Ex. 47. Amgen further

                                                                                                         .

Ex. 48 at -8837. Amgen’s message was clear:

                                           Ex. 49 at -2719. If ESI

                                  s. It did not matter to Amgen that the

                                                       Ex. 24 ¶ 111 & fig. 8. Amgen was

                                  Ex. 50 at -4357, because, as an Amgen executive has explained,

                                                                     Ex. 51.

       A similar story played out at ESI Part D a few months prior to Amgen’s dealings with ESI

Commercial. Amgen

                                                                     Ex. 7 at -4550-51. ESI Part D,

however, was

                                        .” Id.

       2.      Regeneron confronts Amgen and tells it to stop its anticompetitive conduct.

       In August 2020,

                                          Ex. 6. Amgen did not

                                                                                       .” Ex. 52 at 2.

       3.      Undeterred, Amgen forecloses Praluent® from Humana Part D.

       Just four days after receiving                                          Amgen

               to Humana Part D (the third largest Payor for Medicare Plans). Ex. 9; Ex. 53 at

-0281. Now on notice that its conduct would be scrutinized, Amgen told Humana Part D it would

                                        . Ex. 10 at -2822. Amgen also



                                                  11
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                                 . Ex. 54 at -6498; Ex. 55 at 158:24-159:6.

        4.     Amgen next                    to foreclose Praluent® from UHC Commercial.

        Amgen moved on to OptumRx next. During 2021 negotiations with OptumRx on behalf

of its largest client UnitedHealthcare (“UHC”) Commercial,

                                                                             .” Ex. 56 at 30:11-13. In

response,

Exs. 57, 58; Ex. 59; Ex. 56 at 33:21-24. Although



                                                                      . Compare Ex. 56 at 30:14-21

and Ex. 60                                  with Ex. 61 at -8212                                    ).

Amgen                                               al,” and, as a result,

                                                         Ex. 62 at -2332; Ex. 63.

        5.     Amgen finally forecloses Praluent® at CVS Commercial and Part D.

        As noted above,                                                           ,

                                                                                ESI, Humana Part D,

and UHC Commercial. With its new unlawful strategy, Amgen

    . Amgen’s CEO, Bob Bradway, met with CEO of CVS Health Karen Lynch to

                                                                                              Ex. 64.

Amgen’s sales executives made sure to have Mr. Bradway

                                                        Id. In 2021, even though CVS

              . 65 at -5432, Amgen

[



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            Ex. 14 at -2175; Ex. 15. This

Ex. 99 at -1591. Like                                                                  Ex. 24 ¶ 132

& fig. 15. After CVS Commercial

                                  . Ex. 2 at 245:4-11; see also Ex. 66 at -1596. In response, a CVS

Commercial executive informed Regeneron that



                                            Ex. 2 at 226:2-22; 406:22-407:4.

       Amgen                                                                    to CVS Part D Ex.

16; see also Ex. 67 at 76:4-78:16; Ex. 68 at 148:10-11. And Amgen

                                                                 Ex. 69 at -5701.

       Amgen’s offers

                                                                           . Ex. 70 slide 3, 6-7, 12;

Ex. 71 at 237:16-21; Ex. 24 ¶ 92. Regeneron

                               . Ex. 72 at -2888; Ex. 71 at 234:7-22.



            Ex. 73; Ex. 74; Ex. 75 at -0855.

       6.       Praluent® is now foreclosed from          of the PCSK9i market due to Amgen.

       Amgen’s cross-therapeutic bundle has foreclosed Praluent® from               of the PCSK9i

market such that a vast majority of U.S. patients lack any meaningful choice in the PCSK9i market.

Ex. 42 ¶ 194 tbl. 1; Ex. 24 ¶¶ 214-15. It is undisputed (at least in Amgen’s motion) that Repatha®

has monopoly share in the PCSK9i market. Ex. 24 ¶ 11.b; Br. 17 n.7. And Praluent®’s dwindling

market share has allowed Amgen to retain a higher net price on Repatha® than Amgen otherwise

could without its unlawful bundle and enables Amgen to further raise Repatha®’s prices in the

future. Ex. 24 ¶¶ 212-13, 216-25. Amgen’s conduct also reduces the incentives for Regeneron—



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Because “‘[a]nticompetitive conduct’ can come in too many different forms, and is too dependent

on context, for any court or commentator ever to have enumerated all the varieties,” courts evaluate

anticompetitive bundling under various rubrics. D.I. 49 (“R&R”) at 7 (quoting LePage’s, 324 F.3d

at 152). “Under LePage’s, an antitrust plaintiff must show that the effect of the discounts is to

‘foreclose portions of the market to a potential competitor who does not manufacture an equally

diverse group of products and who therefore cannot make a comparable offer.’” Id. at 14 (quoting

LePage’s, 324 F.3d at 155). Bundling may also be considered as exclusive dealing, which, under

ZF Meritor, has “no set formula,” but “generally requires a showing of [1] significant market

power by the defendant, [2] substantial foreclosure, [3] contracts of sufficient duration to prevent

meaningful competition by rivals, and [4] an analysis of likely anticompetitive effects considered

in light of any procompetitive effects” as well as “[5] whether there is evidence that the dominant

firm engaged in coercive behavior, and [6] the ability of customers to terminate the agreements.

[7] The use of exclusive dealing by competitors of the defendant is also sometimes considered.”

Id. at 11 (quoting ZF Meritor, 696 F.3d at 271-72). Alternatively, “setting prices below one’s costs

can constitute anticompetitive predatory pricing (if other requirements are met).” Id. at 7.

Accordingly, the question for the jury is broad: Whether Amgen “willfully maintained monopoly

power by predatory or exclusionary conduct, rather than by supplying better products or services,

or by exercising superior business judgment, or just by chance.” LePage’s, 324 F.3d at 167.

       There is more than sufficient evidence, construed in the light most favorable to Regeneron,

to satisfy each of these standards. First, LePage’s. There is ample evidence that Amgen’s bundled

rebates have

                    Id. at 155. This includes testimony that

                         , e.g., p. 10, supra, and expert analysis confirming that




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confirming that Amgen has, at most, identified a factual dispute for the jury. 15 Amgen then disputes

the factual underpinnings of each of ZF Meritor’s factors for assessing exclusive dealing. But these

are quintessential factual disputes, with ample evidence cutting against Amgen. In any event, the

ZF Meritor factors are non-exclusive and non-dispositive. The remainder of Amgen’s brief is a

smorgasbord of underdeveloped arguments that mischaracterize governing law and ignore swaths

of the record, which includes contrary evidence on every issue Amgen raises.

       1.      Amgen                                                                 and procured
               Repatha® exclusivity at each

       Amgen’s foreclosure arguments begin from the erroneous and hotly disputed proposition

that “the maximum foreclosure Regeneron could … show stems

                        which Amgen views as covering just 10% of the market. Br. 18. But the

record is squarely to the contrary: the evidence shows that Amgen deployed its bundling scheme

across multiple Payors, successfully foreclosing Regeneron at each.

       The core premise of Amgen’s argument is the flawed “only written contracts matter”-

theory of antitrust law that this Court has already rejected. In Amgen’s view, “[w]hat matters for

purposes of foreclosure is what the contract provides.” Br. 19. But, as this Court explained,

Amgen’s “entire agreements with” Payors “might not have been written down at all.” R&R 9.

Indeed, the FTC, recognizing as much, recently entered a consent order prohibiting Amgen from

offering certain bundles “directly, indirectly, explicitly, or implicitly.” 16 This is simply “not a


15
   See In re Publ’n Paper Antitrust Litig., 690 F.3d 51, 69 (2d Cir. 2012) (reversing a denial of
summary judgment because “causation is [] a jury question.”); Insight Equity A.P. X, LP v.
Transitions Optical, Inc., 2016 WL 3610155, at *11-12 (D. Del. July 1, 2016) (similar). To show
causation a plaintiff need show only that the conduct was a material cause of the injury, not the
sole cause. Zenith Radio Corp. v. Hazeltine Rsch., Inc., 395 U.S. 100, 114 n. 9 (1969).
16
   Public Decision and Order at 5, In re Amgen, Inc & Horizon Therapeutics plc, No. DO9414
(F.T.C. Dec. 13, 2023); see also Press Release, Amgen to Pay U.S. $24.9 Million to Resolve False
Claims      Act     Allegations,   Office     of    Public     Affairs    (Apr.     16,   2013),
https://www.justice.gov/opa/pr/amgen-pay-us-249-million-resolve-false-claims-act-allegations



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negotiated by OptumRx on behalf of UHC Commercial

           , and that UHC agreed to cover Repatha® exclusively. See Ex. 24 ¶ 83; Ex. 79 ¶ 119. The

evidence shows that UHC

                                               . See p. 12, supra. 20

          Amgen insists there is nothing to see here because the parties’ contract did not

                                                         . Br. 19-20. But the evidence shows that the

parties                                                     .

                                                                                . E.g., Ex. 80 slide 4;

Ex. 81 at -2564.                                                                      Ex. 11, and that

                                                                                      Ex. 12. Amgen



                                            Ex. 61. This, per Amgen, was

                              Ex. 62 at -2332-33.



                                                                                      Ex. 13 at -8981.

That is, Amgen



               Ex. 82 ¶ 76; see also Ex. 83 at -4827-28. The only way for this arrangement (

                                                     ) to make practical and economic sense is if the


20
  This is one of many ways this case is not like In re EpiPen (Epinephrine Injection, USP) Mktg.,
Sales & Antitrust Litig., 44 F.4th 959 (10th Cir. 2022)—an out-of-circuit case that is Amgen’s
most cited authority. Whereas the defendant in EpiPen “offered better prices,” id. at 990, Amgen’s
                                                                                                  . The
Tenth Circuit has refused to apply EpiPen to facts like these. See Chase Mfg., Inc. v. Johns
Manville Corp., 84 F.4th 1157, 1175 (10th Cir. 2023) (finding a genuine dispute of fact on the
plaintiff’s exclusive dealing claims because “the record shows that [the plaintiff] offered a better
price for a higher-quality product,” unlike EpiPen, where the plaintiff “didn’t offer a better price”).



                                                    22
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                               Ex. 7 at -4550-51. In the end, the parties’ contract mentioned

                                                                                ESI Part D moved

Repatha® to its preferred brand tier. See Exs. 89, 90, 91.




Ex. 90. A reasonable jury could easily conclude that the parties

                                                                                 .

         Humana Part D. All Amgen argues with respect to Humana Part D is that “Humana was

not even offered a bundled rebate.” Br. 22. But the evidence shows Amgen’s

                                                      .

                                                                        See Ex. 92 at 178:8-24; Ex.

93 at -5207; Ex. 94 at -1281; Ex. 95 at -4791. Amgen documents reveal that soon after




Ex. 9; see also Ex. 68 at 134:4-15; Ex. 96.

        however, Amgen told Humana that it                                           Ex. 10 at 822.

Just like at ESI Part D,

                           see Ex. 53 at -0277, -0281, while maintaining exclusive coverage of

Repatha®. 22 Here too, a reasonable jury could easily conclude that the parties’ functional


22
     Amgen further negotiated a
                               ®
                                  . Ex. 54 at -6498; Ex. 55 at 158:24-159:6.



                                                 24
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                                         see Ex. 72,

                         , Ex. 67 at 92:23-94:6.

                                                   ***
       Amgen would have the Court artificially “limit[]” its inquiry to Amgen’s “written

agreements,” Br. 18, and conclude that its anticompetitive cross-therapeutic bundle caused

Regeneron’s foreclosure                              . To do so, the Court would have to blind itself

to all of the evidence showing how Amgen                          —in

                                             —to foreclose Regeneron at PBM after PBM, directly

foreclosing      of the market by January 2024. Ex. 42 ¶ 194 tbl. 1. Amgen’s approach cannot be

reconciled with the summary judgment standard or the antitrust laws and should be rejected. 27

       2.      Amgen cannot rule out spillover effects as a matter of law.

       Amgen also disputes the remaining            of Regeneron’s foreclosure by rejecting the well-

recognized phenomenon of spillover effects. Br. 23-24. Regeneron’s experts, Dr. Scott Morton

and Ms. Heather Bates, explain that there are two well-recognized types of spillover, or “halo,”

effects resulting from Amgen’s bundling scheme. Prescriber-level spillover occurs when a health

care provider defaults to prescribing Repatha® as opposed to Praluent® without referring to an

individual patient’s insurance coverage, because the provider knows Repatha® is more likely to be

covered or has “greater experience with [it].” Ex. 24 ¶ 100; Ex. 82 ¶ 99. 28 In this way, “a dominant


27
   See Order on Summary Judgment Motions at 3-4, Ingevity Corp. v. BASF Corp., No. CV 18-
1391-RGA (D. Del. Aug. 24, 2021), ECF No. 525 (“[T]he parties[‘] dispute [regarding] the amount
of foreclosure … is an issue the jury should determine.”). Regeneron “should be given the full
benefit of [its] proof”—construing all the evidence and inferences in its favor—“without tightly
compartmentalizing the various factual components.” Cont’l Ore Co. v. Union Carbide & Carbon
Corp., 370 U.S. 690, 699 (1962); see also City of Anaheim v. S. Cal. Edison Co., 955 F.2d 1373,
1376 (9th Cir. 1992) (noting the “‘synergistic effect’ of the mixture of elements”).
28
   Studies show that physicians prescribe medications covered by plans that offer limited coverage
options more often than other functionally similar medications, even for patients whose plans
cover the similar medications. See, e.g., Y. Richard Wang, Spillover Effects of Restrictive Drug



                                                   27
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            Ex. 86. Additionally, after ESI Commercial dropped Praluent® from its national

formulary, many other ESI-affiliated PBMs formularies followed suit. Ex. 24 ¶ 108-09, 119. The

same occurred at OptumRx after the                                      . Id. ¶ 123.

       Unable to dispute the real-world existence of spillover effects or the evidence of spillover

here, Amgen—relying solely on EpiPen—argues that spillover simply does not count. In Amgen’s

view only “contractual foreclosure”—i.e., foreclosure required by a contract’s terms—is

cognizable. Br. 23-24 (quoting EpiPen, 44 F.4th at 992). Amgen is wrong. For starters, EpiPen’s

“contractual foreclosure” approach—which considered only prescriber-level spillover—is not the

law in the Third Circuit. LePage’s, for example, rejected this exact argument that foreclosure is

measured based only on “contracts” that “expressly … conditioned discounts on exclusivity.” 324

F.3d at 157. Foreclosure must instead account for the full effects of all actions “designed to induce

… the exclusion” of the plaintiff. Id. at 157-59; see also Cont’l Ore, 370 U.S. at 699. 33

       Moreover, the evidence undermines EpiPen’s applicability, or at least shows that its

conclusion rest on factual premises that are disputed here. 34 First, the prescriber-level spillover in

EpiPen resulted from “irrational behavior.” 44 F.4th at 992. But here, as Dr. Scott Morton notes,

“[i]t is completely … rational[] that a [health care] provider who repeatedly encounters difficulty

prescribing a certain medicine … may be less likely to prescribe that product.” Ex. 24 ¶ 259 n.418.

This is especially so because, to use Amgen’s own medical expert’s words, “[t]here’s so many


33
   The rule of reason eschews Amgen’s “formalistic distinctions” in favor of “actual market
realities.” Eastman Kodak, 504 U.S. at 466-67; see generally Tampa Elec. Co. v. Nashville Coal
Co., 365 U.S. 320, 326, 329 (1961) (Foreclosure is measured by the “practical” consequences of a
defendant’s conduct and “probable effect … on the relevant area of effective competition.”).
34
   The Tenth Circuit has already limited EpiPen to cases where the plaintiff “didn’t offer a better
price,” “PBMs initiated the exclusivity agreements,” and the record lacks evidence that the
defendant “coerce[d] the PBMs into exclusivity.” Chase Mfg., 84 F.4th at 1175 (reversing grant
of summary judgment). This case differs from those facts in all respects. To date, no court has
applied EpiPen to dismiss any other antitrust claims. E.g., United States v. Google LLC, 687
F. Supp. 3d 48, 75 (D.D.C. 2023) (denying summary judgment).



                                                  29
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different insurance companies with so many different regulations.” Ex. 31 at 65:13-14. Second,

EpiPen found prescriber-level spillover could have been “neutraliz[ed] by vigorous competition”

in the form of “advertising to physicians or patients.” 44 F.4th at 992-93. But Amgen’s medical

expert discounted the value of marketing efforts when it comes to prescribing Repatha® and

Praluent®. Ex. 31 at 127:20-128:11. And CVS

                                   Ex. 115 at -8660. Finally, EpiPen worried that recognizing

spillover in that case would “disincentivize[] procompetitive behavior.” 44 F.4th at 993. But,

unlike EpiPen, which was a single-product case, this case involves (1) a cross-therapeutic bundled

rebate, which (2) priced Repatha® below cost. There are no procompetitive benefits of Amgen’s

conduct (and Amgen’s brief identifies none). See p. 34, infra.

       3.      Amgen cannot prove that its bundling scheme is lawful even at lower
               foreclosure levels and under the ZF Meritor factors.

               i.     Monopolists may not maintain dominance by anticompetitive means.

       Amgen cites no case supporting its proposition that a monopolist can use anticompetitive

practices to entrench a (purportedly) lawfully acquired monopoly. Rather, because Amgen was

and is a monopolist in the PCSK9i market—a point Amgen’s motion never disputes—it cannot

maintain or increase its monopoly even by gaining small amounts of share through anticompetitive

means. In LePage’s, for example, the plaintiff showed that 3M’s scheme reduced LePage’s market

share from “14.44% of the total [relevant] market” “to 9.35%”—a 5% decrease. 324 F.3d at 159-

62. But since 3M “had monopoly power in the relevant market,” the Court ruled—without relying

on the percentage of market foreclosure—that 3M engaged in anticompetitive conduct that

“strengthen[ed] its monopoly position.” Id. at 162, 166. 35 This Court applied this principle in


35
  See ZF Meritor, 696 F.3d at 271, 285 (“Exclusive dealing arrangements are of special concern
when imposed by a monopolist”); United States v. Microsoft Corp., 253 F.3d 34, 70 (D.C. Cir.
2001) (en banc) (lower levels of foreclosure can be anticompetitive when the defendant is a



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denying Amgen’s motion to dismiss, holding that “contracts resulting in foreclosure of at least

22.32%” could be “sufficient as a matter of law to state an antitrust claim” where “the Complaint

also allege[d] that Repatha has monopoly power.” R&R 11-12. The evidence now paints an even

starker picture: Praluent® has now been excluded from            of the PCSK9i market—in which

Amgen undisputedly wields monopoly power—and

                         Regardless of how Amgen acquired its PCSK9i monopoly, Amgen cannot

use anticompetitive means to increase or further insulate that monopoly even incrementally.

               ii.     Amgen’s conduct is anticompetitive even at lower foreclosure levels.

       Even putting aside the fact that Amgen is a monopolist, there is evidence that under the ZF

Meritor factors—which are not a “set formula,” but rather considerations for the jury, 696 F.3d at

271, 286—Amgen’s bundling scheme was anticompetitive even at lower foreclosure levels:

       Foreclosure. “There is no fixed percentage at which foreclosure becomes ‘substantial’ and

courts have varied widely in the degree of foreclosure they consider unlawful.” Eisai, 821 F.3d at

403. Still, Amgen concedes that its challenged conduct would reach anticompetitive levels if it

caused 40-50% of Regeneron’s foreclosure. Br. 29. Amgen’s bundling scheme

                                                Ex. 42 ¶ 194 tbl. 1. And courts have found conduct

anticompetitive at even significantly lower foreclosure levels. 37


monopolist); Roxul, 2019 WL 1109868, at *13 (monopolist could be liable where the plaintiff’s
“market share would have been 3.2% … as opposed to its actual market share of 1.9%”).
36
   This stands in stark contrast to the rest of the world where Praluent®’s market share increased.
Ex. 24 ¶ 211 fig. 25; see United States v. Visa U.S.A., Inc., 344 F.3d 229, 241 (2d Cir. 2003)
(assessing international market dynamics to ascertain domestic anticompetitive effects).
37
   See, e.g., Twin City Sportservice, Inc. v. Charles O. Finely Co., 676 F.2d 1291, 1301-09 (9th
Cir. 1982) (24% foreclosure). For Regeneron’s Clayton Act claim, this Court has observed that
“foreclosure of 14.7% ‘may well’” suffice. R&R 12 n.6 (quoting Am. Motor Inns, Inc. v. Holiday
Inns, Inc., 521 F.2d 1230, 1252 (3d Cir. 1975)); see Masimo Corp. v. Tyco Health Care Grp., L.P.,
2006 WL 1236666, at *6 n.4 (C.D. Cal. Mar. 22, 2006) (“A Section 3 claim may be supported by
less than 24% foreclosure.”); see generally 15 U.S.C. § 14 (Clayton Act violated by conduct that
“may … substantially lessen competition or tend to create a monopoly”).



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       Coercion. Amgen argues that the record lacks evidence of coercion because Payors

themselves have significant bargaining power. Br. 29-31. At best for Amgen, the issue of coercion

is disputed, as it implicates complex market dynamics and competing industry expert testimony.

Amgen provides                          worth of rebates to PBMs each year. See Ex. 116 slide 26.

Regeneron’s experts have accordingly explained that pharmaceutical companies hold significant

leverage. Ex. 42 ¶¶ 211, 346; Ex. 117 at 69:10-70:4. Even Amgen’s expert agrees that

pharmaceutical companies “may have a little bit of leverage.” Ex. 118 at 147:23-25.

       Amgen also ignores that its bundled conditional rebate includes two widely-prescribed,

“must-have” medications, see Ex. 24 ¶¶ 39-48, making it difficult or impossible for PBMs to

refuse. For example,

                                                   Ex. 86.

                                               Ex. 12. Time and again,



And the fact that Payors

                                                       supports the “permissible inference” that the

bundle was coercive. PeaceHealth, 515 F.3d at 914-15. Compare Ex. 56 at 30:14-21 and Ex. 60

                           with Ex. 61 (50% Repatha® rebate). Coercion is thus an issue for trial. See

PeaceHealth, 515 F.3d at 914-15 (reversing grant of summary judgment because, although there

was “testi[mony] that [a purchaser] voluntarily entered into its contracts,” “when all justifiable



38
   This case is unlike Eisai, where the “threat of a lost discount” on a single product was not
coercive. Eisai, 821 F.3d at 407. Here, refusal to purchase one product means losing rebates on
other products PBMs must purchase, and the evidence shows that these bundled rebates dictated
purchasing decisions. See LePage’s, 324 F.3d at 157; Ex. 2 at 397:5-6 (ESI); id. at 226:17-22,
245:8-11 (CVS). In Eisai, the challenged agreements also “did not prohibit hospitals from
purchasing competitor … drugs.” Eisai Inc. v. Sanofi-Aventis U.S., LLC, 2014 WL 1343254, at
*26 (D.N.J. Mar. 28, 2014). Here, of course, Amgen’s scheme entailed Repatha® exclusivity.



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exclusivity. Google, 687 F. Supp. 3d at 73 (denying summary judgment).

       Anticompetitive/procompetitive effects and market practices. The evidence shows that

Amgen’s bundled rebates have serious anticompetitive effects. Namely, a vast majority of patients

lack meaningful access to Praluent®’s unique benefits; Amgen can retain higher net prices on

Repatha® than it otherwise could have; and Repatha®’s dominance has reduced incentives to

innovate. See p. 13, supra; Section III.D, infra. In response, Amgen argues that contracts providing

rebates in exchange for exclusive coverage can be procompetitive as a general matter. Br. 31-32.

But this is not a case about an ordinary single-product rebate for exclusive coverage. Here,

exclusive coverage has been obtained by threatening to withhold rebates on other medications that

treat completely different diseases—a practice the evidence shows is highly unusual. 41 Amgen

never explains how its coercive cross-therapeutic bundles offer any procompetitive benefits.

       Simply put, Amgen cannot overcome the overwhelming evidence of anticompetitive

bundling. Amgen makes no argument under LePage’s. As for ZF Meritor’s independently

sufficient standard, Amgen raises, at the very most, ancillary factual disputes for the jury to

consider in its holistic inquiry into Amgen’s conduct and the causes of Regeneron’s exclusion.

B.     The evidence shows Amgen engaged in unlawful below-cost pricing.

       Amgen devotes a brisk two-and-a-half pages to its request for summary judgment on

Regeneron’s below-cost pricing claims. Br. 34-36. This is particularly surprising given that these

claims provide a separate and independent basis for proving Amgen’s liability. And, as explained,

the evidence (including rigorous economic expert analysis) more than suffices to show that Amgen



41
   Horizon Amgen Opp. at 22 (“[B]undling generally is not widely used in the pharmaceutical
industry, and Amgen does not have many bundled contracts.”); Ex. 37 at 247:15-25 (Amgen
executive admitting the
          ; Ex. 118, 106:20-107:5; 107:19-109:2 (Amgen expert confirming that “bundling
generally is not widely used in the pharmaceutical industry.’”).



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              . Ex. 19 at 9; Ex. 22 slide 3; Ex. 23 slide 30; Ex. 51. Confirming as much, Regeneron’s

expert explains that as Praluent®’s market share dwindles, Amgen can raise prices more freely.

Ex. 24 ¶¶ 211, 217-18. And, so long as Amgen can break the competitive process at any time with

its bundle,                                           See p. 33, supra. Amgen’s meager arguments

for summary judgment on Regeneron’s standalone below-cost pricing claims therefore fail.

C.     Enbrel® and Otezla® have market power, and the issue is not dispositive.

       Amgen next argues that its “bundles are lawful” for the “separate and independent reason”

that “Amgen does not possess monopoly power with respect to Enbrel® and Otezla®.” Br. 37.

Amgen yet again gets the law wrong: anticompetitive conduct does not require market power in

the bundled products. In any event, these products’ market power is clear, or, at least, disputed.

       Regeneron’s antitrust claims do not hinge on a showing of market power for Otezla® and

Enbrel®. To be sure, Amgen’s market power in these products provides relevant evidence of

Amgen’s intent and ability to bundle, and of the coercive nature of Amgen’s bundled rebate offers.

But a lack of monopoly power does not defeat Regeneron’s claims. All that is required under all

three lines of authority relevant here—LePage’s, ZF Meritor, and PeaceHealth—is that Amgen

has (or is at risk of gaining) monopoly power in the PCSK9i market, which Amgen does not

dispute. In LePage’s, 3M offered a bundled rebate to shore up its monopoly in the transparent tape

market. Whether 3M had market power in the other “product lines covered by the rebate

program”—product lines like “Retail Auto” and “Home Improvement Products”—was not

relevant (or even discussed). LePage’s, 324 F.3d at 144-45, 154-55. 44 Regeneron more than

satisfies the standard the en banc Third Circuit actually announced. See pp. 15-16, supra. In ZF


44
  To the extent the district court in Shire US, Inc. v. Allergan, Inc., 375 F. Supp. 3d 538 (D.N.J.
2019), read LePage’s to incorporate a requirement that the other products in the bundle have
monopoly power, that decision is incorrect. In any event, antitrust law is based on the “actual
market realities” relevant to each specific case. Eastman Kodak, 504 U.S. at 466-67.



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Meritor, the exclusive dealing analysis centered on the effects of tactics a business uses to further

entrench a monopoly product; there is no requirement that those tactics involve other monopoly

products. See 696 F.3d at 270-72, 281-89. As for PeaceHealth, while the defendant in PeaceHealth

wielded monopoly power with respect to each product in the bundle, that fact was not pertinent to

the court’s analysis. Rather, just like in LePage’s, the “potential threat to consumer welfare” that

PeaceHealth addressed was that a more efficient “competitor who produces fewer products than

the defendant” could “be excluded from the market because the competitor cannot match the

discount the defendant offers over its numerous product lines.” PeaceHealth, 515 F.3d at 904.

       In any event, the evidence shows Otezla®’s and Enbrel®’s market power—or, at least, that

the issue is disputed. Dr. Scott Morton describes Enbrel®’s and Otezla®’s market power in

significant detail (including durable       profit margins over many years despite the presence of

new anti-inflammatory treatments), applying established methods of antitrust market analysis. Ex.

24 ¶¶ 39-48; Ex. 42 ¶¶ 341-78. 45 The FTC also confirmed that Otezla® has significant market

power when Amgen paid $13.4 billion to acquire the product in an FTC-ordered sale. See p. 9 n.4,

supra. 46 Likewise, Amgen admitted Enbrel®’s power in a March 2024 challenge to Colorado’s

imposition of a price cap: “Enbrel®,” Amgen averred, “effectively redefined the clinical course of

moderate to severe rheumatoid arthritis,” and its dominant position is secured by “two patents


45
   “[B]oth products having high margins that are rising over time, high profits, widespread
adoption on health plan formularies, and stable prices despite the launch of new products or
approval of additional indications for other drugs used to treat the same conditions.” Ex. 42 ¶ 342;
see also Dentsply, 399 F.3d at 187 (a product with “less than [a] predominant share” can be shown
to have “monopoly power” in light of “other germane factors … includ[ing] the size and strength
of competing firms, freedom of entry, pricing trends and practices in the industry, ability of
consumers to substitute comparable goods, and consumer demand”); AbbVie, 976 F.3d at 373
(finding monopoly power because, inter alia, the defendant “maintain[ed] its share of the
[relevant] market with a profit margin of over 65[%]” “even with huge rebates”).
46
   Amgen suggests that Otezla®’s divestiture was ordered “to preserve [Bristol Myers Squibb’s]
incentive to develop its own oral [psoriasis] product.” Br. 6. But this explanation appears nowhere
in the record, and Amgen’s citation, Ex. 79 ¶ 42, does not mention the divestiture at all.



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[that] grant Enbrel® market exclusivity and limit competing biosimilar products from entering the

market until 2029 at the earliest.” Compl. ¶¶ 1, 53, Amgen v. Colo. Prescription Drug Affordability

Review Bd., No. 1:24-cv-00810 (D. Colo. Mar. 22, 2024), ECF No. 1.

       Nonetheless, Amgen insists that these medications lack market power, contending that

other medications treat the same conditions and that some Payors have not always covered Enbrel®

and Otezla®. Br. 37-39. At most, these arguments create a factual dispute about this canonically

fact-intensive issue. 47 Regarding other medications, Amgen identifies only one medication that it

says poses a threat to Enbrel® or Otezla®—Humira®. But Dr. Scott Morton shows that the net

prices of Enbrel® and Otezla® have not decreased despite Humira®’s presence, indicating that

Humira® is not an effective constraint on their market power. See Ex. 24 ¶ 43; Ex. 42 ¶ 378. 48

Amgen, moreover, did not

                                                                               Ex. 42 ¶ 368. As for

Payor coverage, Amgen identifies one time in Enbrel®’s sixteen-year history when a Payor (UHC)

temporarily did not cover Enbrel® in a preferred position. Br. 38. Amgen omits that this was due

to Amgen

                      Ex. 121 slide 3; Ex. 106 at -0850-51. Even then, all existing patients retained

their preferred access to Enbrel®. In Otezla®’s ten-year history, Amgen identifies only a handful

of Part D formularies that have excluded it, beginning in 2021. Br. 39. These exceptions prove the



47
   See Roxul, 2019 WL 1109868, at *15-18 (disputes of fact on market power); In re Suboxone
(Buprenorphine Hydrochloride & Naloxone) Antitrust Litig., 622 F. Supp. 3d 22,72-75, 89 (E.D.
Pa. 2022) (same); see generally Town Sound & Custom Tops, Inc. v. Chrysler Motors Corp., 959
F.2d 468, 481 (3d Cir. 1992) (“[M]arket power is certainly dependent on factual findings”).
48
   A single market may contain multiple products with market power. See, e.g., Visa, 344 F.3d at
240 (Both “Visa U.S.A. and MasterCard have demonstrated their power in the [relevant] market,”
with shares of 47% and 26%). Dr. Scott Morton showed that limiting the markets to Humira® and
Otezla® or Humira® and Enbrel® yields market shares of 41% and 35%, respectively, for Amgen’s
products, shares that can easily sustain findings of market power. Ex. 42 ¶ 377.



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rule. In fact, formulary coverage for Enbrel® and Otezla® increased between 2019 and 2023. Ex.

42 ¶ 360. Amgen is free to argue that the disputed facts negate the ample evidence of Enbrel®’s

and Otezla®’s market power; but that is an argument for the jury, not summary judgment.

D.     Whether Amgen’s conduct caused anticompetitive effects is a disputed issue of fact.

       Amgen contends that even if its conduct was anticompetitive, Regeneron “failed to show

… anticompetitive effects.” Br. 39-41. As Amgen sees it, there is no evidence of reduced output

or increased prices, Amgen’s contracts “allow for ample consumer choice,” and reduced choice is

“not necessarily an anticompetitive effect in the prescription drug market.” Id. 49

       But the evidence shows Amgen’s anticompetitive deeds had anticompetitive ends several

times over. First, courts regularly recognize that monopolization—which the evidence here shows,

see Part I, supra—inherently inflicts consumer harm. See, e.g., LePage’s, 324 F.3d at 158-63

(preventing the plaintiff from effectively competing “harmed competition itself”). 50

       Second, Dr. Scott Morton opines that Amgen’s conduct did increase prices. Ex. 24 § 9.3.51

While Amgen insists that “the price of Repatha® … has [not] increased,” Br. 40, the question is

not whether prices have increased as an absolute matter, but rather whether prices have remained

higher than they would have been but-for the anticompetitive conduct. 52 That is the case here.


49
   Amgen glancingly argues that Regeneron’s “failure to show a possibility of recoupment” means
that “Regeneron cannot show any risk of future anticompetitive effects on its below-cost pricing
claims.” Br. 41. This claim is wrong for all of the reasons discussed above. See pp. 35-36, supra.
50
   See 6C Areeda & Hovenkamp, Antitrust Law ¶ 651e1 (updated May 2024) (“[A]n expectation
of consumer harm must always be at the logical end of any determination that a particular act
‘monopolizes.’”); e.g., Microsoft, 253 F.3d at 65-67 (finding that excluding competitive threats
other than on the merits established both anticompetitive conduct and harm to competition); see
also, e.g., United States v. Grinnell Corp, 384 U.S. 563, 576 (1966) (acquisition unlawful because
it “eliminated any possibility of an outbreak of competition that might have occurred”); Dial Corp.,
165 F. Supp. 3d at 37 (denying summary judgment where “[p]laintiffs present ample evidence that
[defendants] intended to use their exclusive [] contracts to do just that—to exclude rivals”).
51
   Contrary to Amgen’s contention, Dr. Mathur does not opine otherwise. See Resp. to SUF 2 ¶ 3.
52
   See, e.g., LePage’s, 324 F.3d at 165; Indivior Inc. v. Alvogen Pine Brook LLC, 681 F. Supp. 3d
275, 303 (D.N.J. 2023) (The “key question [is] whether prices were higher and output lower than



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interference claims to proceed even where antitrust claims have failed. 63 Similarly, unlike

Regeneron’s federal claims, Regeneron’s California Unfair Practices Act (“UPA”) claim for

below-cost pricing “does not require an anticompetitive impact” and allows any method of

calculating costs that is not “arbitrary or irrational.” Rheumatology Diagnostics Lab’y, Inc. v.

Aetna, Inc., 2013 WL 5694452, at *16, *19 (N.D. Cal. Oct. 18, 2013) (allowing a UPA claim to

proceed after dismissing federal claims). The UPA, moreover, reaches “below-cost pricing for

even a limited number of customers, or a market segment.” Fisherman’s Wharf Bay Cruise Corp.

v. Superior Court, 7 Cal. Rptr. 3d 628, 641-42 (Cal. Ct. App. 2003) (denying summary

judgment). 64 Regeneron’s Cartwright Act and Donnelly Act claims likewise impose different and

lesser standards than the federal claims. 65 And Regeneron can prevail on its Unfair Competition

Law claim without showing an antitrust or other violation. 66 Amgen’s admitted, unfair conduct to

secure exclusivity at ESI Commercial alone, to say nothing of all of the other evidence of Amgen’s

misconduct, creates a triable dispute on these claims. Amgen nowhere argues otherwise. 67

                                         CONCLUSION

       For the foregoing reasons, Amgen’s Motion for Summary Judgment should be denied.



63
   E.g. Int’l Constr. Prods., LLC v. Caterpillar Inc., 2024 WL 1619836, at *18 (D. Del. Apr. 15,
2024) (denying summary judgment on tortious interference claim, resulting in $100 million jury
verdict in plaintiff’s favor), trial verdict, No. 15-108-RGA, D.I. 756 (D. Del. Apr. 19, 2024).
64
   Amgen asserted a conditional counterclaim that Regeneron priced Praluent® below cost at CVS.
See D.I. 148 ¶¶ 29-34. While not at issue here, Amgen has adduced no support for this claim.
65
   See Fisherman’s Wharf, 7 Cal. Rptr. 3d at 650-51 (allowing a claim of 20% foreclosure to
proceed to trial and recognizing that Cartwright Act eschews “rigid mathematical formula[s]”);
Assocs. Cap. Servs. Corp. v. Fairway Priv. Cars, Inc., 590 F. Supp. 10, 13 (E.D.N.Y. 1982) (noting
that “the Donnelly Act may well forbid conduct that would not violate the Sherman Act”).
66
   See Epic Games, Inc. v. Apple, Inc., 67 F.4th 946, 1000-02 (9th Cir. 2023).
67
   “[W]here, as here,” Regeneron’s state-law claims must “go[] forward [and are] based on the
same evidence as is being relied upon for” the federal claims, “the better course is not to dismiss”
any of Regeneron’s claims, “as it may prove necessary to hold yet another trial in the event that it
is determined on appeal that the motion … was improperly granted.” Bacchus v. N.Y.C. Dep’t of
Educ., 137 F. Supp. 3d 214, 241-42 (E.D.N.Y. 2015).



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